                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


    DOMINIQUE WATSON,

                        Plaintiff,

          v.                                            Civil Action No. 23-1670 (BAH)

    DISTRICT OF COLUMBIA, et al.,

                        Defendants.


                 DEFENDANT UNITED STATES’ MOTION TO DISMISS

         Defendant United States of America, 1 by and through undersigned counsel, hereby moves

to dismiss Plaintiff’s complaint for lack of subject-matter jurisdiction pursuant to Federal Rule of

Civil Procedure 12(b)(1). The Federal Tort Claims Act (“FTCA”) is the exclusive remedy for the

type of claims asserted against the United States in this case, and Plaintiff did not exhaust her

administrative remedies before filing this suit as required by the FTCA. Because the exhaustion

requirement is jurisdictional, Plaintiff’s noncompliance with the exhaustion requirement is fatal to

her claims, and the Court must dismiss Plaintiff’s complaint as to the United States.



                                         *       *       *




1
        As explained in the United States’ Notice of Substitution (ECF No. 38), the claims asserted
against Unity Healthcare in this action have been deemed to be brought against the United States
by operation of law, and thus, the United States has been substituted as a party defendant for Unity
Healthcare.


                                               -1-
       In support of this motion, Defendant respectfully refers the Court to the accompanying

memorandum of points and authorities, Declaration of Robert H. Murphy, and the two exhibits

attached to the declaration. A proposed order is also enclosed herewith.


 Dated: January 12, 2024                       Respectfully submitted,
        Washington, DC
                                               MATTHEW M. GRAVES, D.C. Bar #481052
                                               United States Attorney

                                               BRIAN P. HUDAK
                                               Chief, Civil Division


                                               By: /s/ Christina O’Tousa
                                                   CHRISTINA O’TOUSA, D.C. Bar #241667
                                                   Assistant United States Attorney
                                                   601 D Street, NW
                                                   Washington, DC 20530
                                                   (202) 252-2437
                                                   christina.otousa@usdoj.gov

                                               Attorneys for the United States of America




                                               -2-
